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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO



  CIVIL ACTION NO. 22-cv-1433-WJM

  PINNACLE ENTERPRISE RISK CONSULTING
  SERVICES, LLC, A COLORADO LIMITED
  LIABILITY COMPANY

           PLAINTIFF

  V.

  WOODLANDS SPECIALTY HOSPITAL, LLC,
  A TEXAS LIMITED LIABILITY COMPANY

           DEFENDANT


                          DEFENDANT’S CORRECTED MOTION TO DISMISS


           Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(3), and D.C.COLO.LCivR

  7.1, Defendant Woodlands Specialty Hospital, LLC (“WSH”) files this Motion to Dismiss,

  respectfully showing the Court as follows:

                                     PRELIMINARY STATEMENT

           WSH is a hospital in Texas that does not conduct any operations in Colorado. Plaintiff

  Pinnacle Enterprise Risk Consulting Services, LLC (“Pinnacle”) brings this suit for breach of an

  agreement between Plaintiff and the law firm Husch Blackwell that WSH executed solely “for

  purposes of payment.” The agreement was for the provision of consulting services to WSH in

  Texas. Pinnacle bases personal jurisdiction over WSH and venue in this Court exclusively pursuant

  to terms in the agreement that are not binding on WSH. Neither personal jurisdiction nor venue

  are otherwise proper in Colorado. Accordingly, this case should be dismissed.




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                                             BACKGROUND

           Pinnacle, a healthcare consulting company, entered into a Consulting Services Agreement

  dated August 31, 2021, with the law firm Husch Blackwell, LLP (the “Letter Agreement”). A copy

  of the Letter Agreement is attached as Exhibit A.1 The Letter Agreement was executed by Kristen

  Taylor on behalf of Pinnacle and Brian Flood on behalf of Husch Blackwell, which is identified

  as the “Client.”2 Id. at 1, 10. Although the Letter Agreement has the stated purpose of “furthering

  Husch’s role as legal counsel to” Husch Blackwell’s client, WSH and WSH’s affiliates, WSH is

  not identified as a party to the Letter Agreement. Id. at 1. WSH’s representative signed the Letter

  Agreement under the legend “Agreed for Purposes of Payment.” Id. at 10.

           WSH did not solicit services from Pinnacle and did not negotiate or execute the Letter

  Agreement in Colorado. See Declaration of Harold Engle (“Engle Dec.”), a copy of which is

  attached as Exhibit B, ¶ 5. Over the months that followed execution of the Letter Agreement, WSH

  was billed for Pinnacle representatives to travel to Texas to provide the services called for under

  the Letter Agreement. Id. ¶ 6.

           In the Letter Agreement, Pinnacle agreed to “use all reasonable efforts to administer the

  services in an efficient and timely manner, and maintain the appropriate professional standard

  using reasonable care, skill, and expertise.” Exhibit A at 1. Pinnacle’s services fell far below the

  quality warranted or what would have been reasonable for a professional to provide. Exhibit B

  [Engel Decl.] ¶ 7. As a result, WSH lost money on uncollectable invoices and incurred the expense




  1
    Pinnacle failed to attach a copy of the Letter Agreement to its Complaint, presumably because
  the Letter Agreement indicates that it is an agreement between Pinnacle and the law firm Husch
  Blackwell, LLP, not an agreement between Pinnacle and WSH.
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      WSH is referred to as “Company.” Id.


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  of hiring another consultant to correct Plaintiff’s work. Id. WSH explained these issues, among

  others, to Pinnacle but Pinnacle has persisted in demanding payment for its inadequate services. Id.

                                               ARGUMENT

           Venue is improper in this Court because WSH resides in Texas and a substantial part of

  the events or omissions giving rise to Pinnacle’s claim occurred there. Similarly, because WSH is

  a Texas limited liability company with no connection to Colorado other than agreeing to pay for a

  consultant hired by WSH’s Texas attorneys to provide services for WSH in Texas, personal

  jurisdiction is lacking.

  I.       Venue is Not Proper in this Court

           Pinnacle attempts to place venue in this Court based on a provision in the Letter Agreement.

  WSH’s limited agreement to the Letter Agreement for “Purposes of Payment,” does not encompass

  the venue provision and the contractual venue provision does not apply to Pinnacle’s non-

  contractual claims.

           A. Applicable Law

           In general, venue is proper in “a judicial district in which any defendant resides,” or “a

  judicial district in which a substantial part of the events or omissions giving rise to the claim

  occurred, or a substantial part of property that is the subject of the action is situated.” 28 U.S.C.

  § 1391. An entity “resides” for purposes of venue “in any judicial district in which such defendant

  is subject to the court’s personal jurisdiction with respect to the civil action in question.” 28 U.S.C.

  § 1391©(2). “[V]enue statutes are generally designed for the benefit of defendants, and in

  determining what events or omissions give rise to a claim, the ‘focus [is] on relevant activities of

  the defendant, not of the plaintiff.’” Goff v. Hackett Stone Co., 185 F.3d 874 (10th Cir. 1999)

  (quoting Woodke v. Dahm, 70 F.3d 983, 985 (8th Cir. 1995)). Proper venue must be separately




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  established for each cause of action. Premier Group, Inc v. Bolingbroke, No. 15-CV-01469-PAB-

  CBS, 2015 WL 4512313, at *4 (D. Colo. July 27, 2015) (holding that “[t]he propriety of venue

  under § 1391(b)(2) is determined separately for each claim”).

           “‘Once venue is challenged, it is the plaintiff’s burden to show that venue is proper in the

  forum district.’” Arrows Up, LLC v. William R. Weiss Enterprises, Inc., No. 19-CV-1869-WJM-

  KLM, 2020 WL 2395639, at *2 (D. Colo. May 12, 2020) (quoting Scott v. Buckner Co., 388 F.

  Supp. 3d 1320, 1324 (D. Colo. 2019)); see also Gwynn v. TransCor America, Inc., 26 F. Supp. 2d

  1256, 1261 (D. Colo. 1998) (holding that once venue is challenged the plaintiff must “present

  specific facts” to support venue). It is appropriate for the Court to consider facts outside of the

  complaint and the allegations in the complaint are to be accepted only where they are uncontested.

  Arrows Up, LLC, 2020 WL 2395639, at *2.

           B. Pinnacle’s Basis for Venue is Inapplicable

           Pinnacle pled that venue was proper in this Court on the basis of a provision in the Letter

  Agreement. See Plaintiff’s Complaint ¶ 4 (“Venue is proper in this Court pursuant to page 8 of the

  Agreement, which provides that this Court is the exclusive venue for any action under the

  Agreement.”). The provision in question provides: “Any action sought to be taken by either party

  shall be brought in the United States District Court from [sic] the Colorado. The parties do hereby

  expressly submit to personal jurisdiction of the State of Colorado, County of Arapahoe, for the

  purposes of carrying out this provision.” Exhibit A at 8. The venue provision by its own terms

  applies only to an action brought by “either party.” Id. The two parties to the Letter Agreement are

  Pinnacle and Husch Blackwell. Id. at 1. While WSH is identified in the Letter Agreement as

  “Company,” and certain provisions make reference to WSH, the venue and personal jurisdiction

  clause does not include any reference to WSH or Company.




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           Moreover, WSH did not agree to be bound by the venue clause in the Letter Agreement.

  WSH’s limited agreement to the Letter Agreement for “Purposes of Payment,” does not encompass

  the venue provision. Accordingly, Pinnacle’s reliance on the Letter Agreement is misplaced.

           C. Venue is Not Proper in Colorado Under the Federal Venue Statute

           Nor is venue otherwise proper. WSH does not “reside” in Colorado. WSH is a limited

  liability company organized under the laws of Texas with its sole place of business in Texas.

  Exhibit B [Engle Decl.] ¶¶ 3-4. As discussed in greater detail below, the Court does not have

  personal jurisdiction over WSH. The Complaint fails to identify any contacts between WSH and

  Colorado. WSH has no operations in Colorado and has no connection to Colorado other than the

  fact that WSH’s law firm selected a Colorado company to perform services for WSH. Id. ¶ 4. WSH

  executed the Letter Agreement in Texas and no one from WSH travelled to Colorado for any

  purpose relating to the Letter Agreement. Id. ¶ 5.

           There has been no allegation that the District of Colorado is a judicial district in which a

  substantial part of the events or omissions giving rise to the claim occurred. Pinnacle’s alleged

  presence in Colorado was irrelevant to the performance of the duties outlined in the Letter

  Agreement. Venue is therefore improper in this district.

  II.      The Court Lacks Personal Jurisdiction Over WSH

           Personal jurisdiction over WSH is likewise improper in this Court. It is clear from the face

  of the Complaint that WSH is not a resident of Colorado. Complaint ¶ 2. Accordingly, the exercise

  of in personam jurisdiction over WSH requires Pinnacle to establish that jurisdiction is proper

  under Colorado law and “‘that the exercise of jurisdiction does not offend the due process clause

  of the Fourteenth Amendment.’” Grynberg v. Ivanhoe Energy, Inc., 666 F. Supp. 2d 1218, 1229–




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  30 (D. Colo. 2009), as corrected (Jan. 28, 2010) (quoting Benton v. Cameco Corp., 375 F.3d 1070,

  1075 (10th Cir. 2004)).

            A.     Applicable Law

            Because Colorado’s long arm statute is coextensive with the limitations imposed by the

  due process clause, these inquiries collapse into one. Id. “Under the due process clause, a ‘personal

  jurisdiction analysis involves a two-step inquiry.’” Id. (quoting AST Sports Sci., Inc. v. CLF

  Distrib. Ltd., 514 F.3d 1054, 1057 (10th Cir. 2008)). The first step is a determination of whether

  the nonresident defendant has minimum contacts with the forum state “such that he should

  reasonably anticipate being haled into court there.” World–Wide Volkswagen Corp. v. Woodson,

  444 U.S. 286, 297. Second, even if the defendant has sufficient minimum contacts, jurisdiction is

  lacking if it would offend “traditional notions of fair play and substantial justice.” Asahi Metal

  Indus. Co. v. Superior Court of Cal., 480 U.S. 102, 109 (1987).

            The “minimum contacts” must be acts taken by the defendant. OMI Holdings, Inc. v. Royal

  Ins. Co. of Canada, 149 F.3d 1086, 1092 (10th Cir. 1998). “[C]ourts have been unwilling to allow

  states to assert personal jurisdiction over foreign defendants where the defendant’s presence in the

  forum arose from the unilateral acts of someone other than the defendant.” Id.

            The requisite “minimum contacts” generally confer one of two types of general personal

  jurisdiction: general and specific. See, e.g., Daimler AG v. Bauman, 571 U.S. 117, 128 (2014). For

  an entity defendant, a court may assert general jurisdiction in the forum where its “affiliations with

  the State are so ‘continuous and systematic’ as to render [it] essentially at home in the forum State.”

  Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). This is typically the

  entity’s state of organization and the state of its principal place of business. Daimler AG, 571 U.S.

  at 137.




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           Specific jurisdiction may arise from fewer contacts or acts but only when the contacts

  “gave rise to the episode in suit” or the plaintiff’s claims are “with respect to those acts.” Goodyear,

  564 U.S. at 923. For to a contract-based claim, merely contracting with a resident of Colorado is

  not enough to establish minimum contacts. Encore Productions, Inc. v. Promise Keepers, 53 F.

  Supp. 2d 1101, 1117 (D. Colo. 1999); SGI Air Holdings II LLC. V. Novartis Intern., AG, 192 F.

  Supp. 2d 1195, 1202 (D. Colo. 2002) (“Colorado courts have previously refused personal

  jurisdiction over out-of-state defendants on the basis of insufficient minimum contacts where those

  defendants have entered into and allegedly breached a contract with a Colorado resident.”). A

  contract between a Colorado plaintiff and an out-of-state defendant confers personal jurisdiction

  over the defendant only, for example, where the contract requires ongoing action by the defendant

  in Colorado or was heavily negotiated and executed in Colorado. See, e.g., New Frontier Media,

  Inc. v. Freeman, 85 P.3d 611, 614 (Colo. App. 2003). Similarly, the fact that a contract requires

  payment to a party who happens to be located in Colorado is “an attenuated contact and thus

  incapable of supporting Plaintiff’s burden” to establish personal jurisdiction. Tripoli Mgmt., LLC

  v. Waste Connections of Kansas, Inc., No. 09CV01767-CMA-KLM, 2010 WL 845927, at *4 (D.

  Colo. Mar. 9, 2010).

           If a court finds contacts sufficient to meet either general or specific jurisdiction, the

  exercise of jurisdiction still must comport with “fair play and substantial justice.” The court must

  consider: “(1) the burden on the defendant, (2) the forum state’s interest in resolving the dispute,

  (3) the plaintiff’s interest in receiving convenient and effective relief, (4) the interstate judicial

  system’s interest in obtaining the most efficient resolution of controversies, and (5) the shared

  interest of the several states in furthering fundamental substantive social policies.” OMI Holdings,

  Inc., 149 F.3d at 1095. This inquiry is a sliding scale. Id. Where the plaintiff makes only a weak




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  showing of defendant’s contacts with the forum state, the plaintiff’s fair play and substantial justice

  burden is higher. Id. at 1091–92.

           B.     The Court Lacks General Jurisdiction Over WSH

           As discussed above, WSH is a limited liability company organized under the laws of Texas

  and has its principal place of business in Texas. Exhibit B [Engle Decl.] ¶ 3. WSH is “at home,”

  and therefore subject to general jurisdiction, in Texas. See Daimler AG, 571 U.S. at 137. Pinnacle

  has failed to allege any facts suggesting that WSH had continuous or systematic contacts with

  Colorado, let alone continuous and systematic contacts sufficient to render WSH “essentially at

  home” in Colorado. Accordingly, general jurisdiction is lacking. See Goodyear, 564 U.S. at 924.

           C.     The Court Lacks Specific Jurisdiction Over WSH

           Pinnacle bases its allegation of personal jurisdiction on a provision in the Letter

  Agreement. See Plaintiff’s Complaint ¶ 4 (“The parties further subjected themselves in the

  Agreement to personal jurisdiction in Colorado.”). WSH’s limited agreement to the Letter

  Agreement for “Purposes of Payment” is insufficient to demonstrate that WSH agreed to waive its

  right to contest personal jurisdiction in Colorado or could reasonably anticipate being haled into

  court in Colorado.

           The Complaint identifies no contacts at all between WSH and Colorado. The Letter

  Agreement is for services to be provided to WSH, which is located in Texas. See Complaint at 1-2.

  It was entered into by Pinnacle and WSH’s then law firm, Husch Blackwell, and does not reflect

  that WSH solicited the relationship in any way. See Exhibit A. There are no allegations in the

  Complaint that WSH undertook any activities within Colorado. While the Letter Agreement

  provides for payment from WSH to Pinnacle, it does not require that payment be made in Colorado.

  See Exhibit A. The fact that a contract requires payment to a party who happens to be located in




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  Colorado is “an attenuated contact and thus incapable of supporting Plaintiff’s burden” to establish

  personal jurisdiction. See Tripoli Mgmt., LLC, 2010 WL 845927, at *4. Accordingly, specific

  jurisdiction is lacking.

           D.     The Exercise of Personal Jurisdiction Would Not Comport With “Fair Play
                  and Substantial Justice”

           Even if the Court had general or specific jurisdiction over WSH, the exercise of that

  jurisdiction would be improper. Forcing WSH to litigate this case in Colorado would be highly

  burdensome on it. See Exhibit B [Engle Decl.] ¶ 8. WSH is an active hospital. Forcing it to litigate

  with Pinnacle in Colorado would cause unnecessary expense and require WSH personnel to forgo

  patient-related activities in Texas for time in court and travel time each time they were required to

  be in Colorado. Id. Colorado does not have a strong interest in adjudicating this contract-based

  dispute between Pinnacle and a Texas entity for services to be provided to the Texas entity,

  particularly given that some of the sums sought are for travel to Texas and services provided in

  Texas. Finally, Pinnacle may obtain relief in Texas as expediently and effectively as it would

  in Colorado.

                                      CONCLUSION AND PRAYER

           WSH executed the Letter Agreement only for purposes of payment. Pinnacle’s reliance on

  the terms of the Letter Agreement as the basis for venue and personal jurisdiction is therefore

  misplaced. Venue is improper in Colorado and this Court lacks personal jurisdiction over WSH.

  For these reasons, Pinnacle’s claims against WSH should be dismissed.

           Wherefore, Woodlands Specialty Hospital, LLC prays that this Motion to Dismiss be

  granted and Plaintiff’s complaint be dismissed.




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                                                    Respectfully submitted,

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                                                    ATTORNEYS FOR DEFENDANT
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                       REVISED PRACTICE STANDARD III.D.1 CERTIFICATION

           I certify that between August 24 and August 26, 2022, prior to the filing of this motion,
   I conferred via telephone conference and the exchange of follow up emails with counsel for
   Plaintiff to determine whether the deficiencies identified in this motion could be corrected by
   amendment. Counsel for Plaintiff stated that Plaintiff does not intend to file an amended complaint
   based on the issues raised in the motion.

                                                        s/ Leslie Sara Hyman
                                                        Leslie Sara Hyman




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                                       CERTIFICATE OF SERVICE

           I hereby certify that on August 26, 2022, I caused a true and correct copy of the foregoing
   DEFENDANT’S CORRECTED MOTION TO DISMISS to be electronically filed with the Clerk of Court
   using the CM/ECF system, which will send notice to the following:

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                                                        s/ Leslie Sara Hyman
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